ease 2:04-cr-2034Ié\-TJH§E §MHQ§%TE§&I§EV§SBBCW 1 of 2 Pagelo 30
FOR TI'IE WESTERN DISTRICT OF TENNE EE

WEsTERN DIVIsIoN FH_ED MC

UNITED STATES OF AMERICA

 

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irs ii §§ §§
MICI<LE BUFoRD No. 04¢r20340-B M"H*‘*

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

The defendant, by and through his appointed counsel April Goode (for Parn
I'lamrin) has this day notified the Court that the defendant, upon order of the court, had
previously been transferred to a suitable hospital or facility selected by the Court of pretrial
examination pursuant to 18 U.S.C. § 4241 to determine defendant's mental competency to
stand trial and his sanity at the time of the offense, and that the defense needs additional
time to review the report The Court finds that the arraignment should be continued until
a report on defendants mental competency is reviewed by counsel and that the ends of
justice served by such a continuance outweigh the best interest of the public and the
defendant in a speedy trial.

lt is therefore ORDERED that pursuant t018 U.S.C. §3161(h)(1)(A) the time period

of g /Z Z¢& 5 through 7//€/§5 be excluded from the

time its imposed by the Speedy Trial Act for trial of this case.

 

ARRAIGNMENT IS RESET TO WEDNESDAY ULY 6 2005 AT 10:00 A.M. BEFORE

 

MAGISTRATE UDGE S. THOMAS ANDERSON.

This _Q_L day of \i U NL___ /\ ,.2005

 

 

UNITED STATES MAGISTRATE ]UDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CR-20340 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

